UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In re:
                                                      Case No. 20-10322
The Diocese of Buffalo, N.Y.,
                                                      Chapter 11
                                      Debtor.



                                   NOTICE OF FILING

         PLEASE TAKE NOTICE that, in accordance with the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses for Professionals and Members of

Official Committees [Docket No. 362], Bond, Schoeneck & King, PLLC has filed the Monthly

Fee Statement of Bond, Schoeneck & King, PLLC for Compensation for Services Rendered and

Reimbursement of Expenses as Counsel to The Diocese of Buffalo, N.Y. for the February 1, 2021

Through February 28, 2021, a copy of which is attached hereto and hereby served upon you.



Dated: April 27, 2021                                 BOND, SCHOENECK & KING, PLLC


                                                By:          /s/ Stephen A. Donato
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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In re:
                                                   Case No. 20-10322
The Diocese of Buffalo, N.Y.,
                                                   Chapter 11
                                       Debtor.


      MONTHLY FEE STATEMENT OF BOND, SCHOENECK & KING, PLLC
  FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
        EXPENSES AS COUNSEL TO THE DIOCESE OF BUFFALO, N.Y.
      FOR THE PERIOD FEBRUARY 1, 2021 THROUGH FEBRUARY 28, 2021

Name of Applicant:                         Bond, Schoeneck & King, PLLC

Authorized to Provide
Professional Services to:                  The Diocese of Buffalo, N.Y., Debtor-In-Possession

Date of Retention:                         Order entered June 15, 2020 [Docket No. 397]
                                           Nunc Pro Tunc to February 28, 2020

Period for which compensation
and reimbursement is sought:               February 1, 2021 through February 28, 2021

Amount of compensation sought
as actual, reasonable and necessary:       80% of $151,951.00 ($121,560.80)

Amount of expense reimbursement sought
as actual, reasonable and necessary:       $778.28

This is a: X monthly ____ quarterly ____ final application.

This is Bond, Schoeneck & King, PLLC’s twelfth monthly fee statement in this case.




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